         Case 3:04-cr-00019-RLY-WGH
         Case 3:04-cr-00019-RLY-CMM Document
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             A CERTIFIED TRUE COPY
             Laura A. Briggs, Clerk
             U.S. District Court
             Southern District of Indiana

             By
                                      Deputy Clerk


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                                                01/10/12
                                                      Filed Page 2 of 2Page
                                                            01/09/12    PageID
                                                                            3 of#:3
                                    346
                               PageID #: 344


 Addendum to Order Pursuant to 18 U.S.C. § 3582(c)

           3:04CR00019-002
 Cause No. _____________________

           Leo Brown
 Defendant _____________________


 As directed by 18 U.S.C. ' 3582(c)(2), the Court has considered the relevant factors in U.S.S.G. '
 1B1.10(b) and 18 U.S.C. ' 3553(a), and determined a sentence reduction is not appropriate for the
 following reason(s):

 _____ 1) The defendant is not eligible for a reduction because the amendments listed in
       subsection (c) of U.S.S.G. ' 1B1.10 are not applicable to the defendant.

   ✔ 2) The amendment is listed in subsection (c) of U.S.S.G. ' 1B1.10 and is applicable to the
 _____
       defendant, but it does not have the effect of lowering the defendant=s applicable guideline
       range (e.g. a statutory mandatory minimum term of imprisonment, binding plea agreement,
       career offender status).

 _____ 3) The defendant is eligible for a reduction under this amendment, but the Court has
       determined such a reduction is not appropriate because of the nature and seriousness of the
       danger to any person or the community that may be posed by a reduction in sentence.
       (Application Note 1(B) of U.S.S.G. ' 1B1.10.)

 _____ 4) The defendant is eligible for a reduction under this amendment. However, the Court
       has determined the post-sentencing conduct demonstrates the defendant may pose a danger
       to any person or the community by a reduction in sentence. (Application Note 1(B) of
       U.S.S.G. ' 1B1.10.)

   ✔
 _____ 5) Other (explain)

        ________________________________________________________________________
        The defendant's base offense level under the 2011 Gudielines is 36, based on 10,000 to
        30,000 kilograms of marijuana equivalency (after converting the cocaine and
        ________________________________________________________________________
        cocaine base to marijuana). It is the same now as it was at the time of the original
        ________________________________________________________________________

        sentencing.
        ________________________________________________________________________
